 Case 21-55752-pmb            Doc 96 Filed 03/11/22 Entered 03/12/22 00:54:35                        Desc Imaged
                                   Certificate of Notice Page 1 of 3
Form 3004 (11/20)
                                   UNITED STATES BANKRUPTCY COURT

                                            Northern District of Georgia


In     Debtor(s)
Re:    New Vision Realty & Investments, Inc.                Case No.: 21−55752−pmb
       3645 Marketplace Blvd.                               Chapter: 7
       Unit 130−593
       Atlanta, GA 30344

       46−1622334

                    NOTICE OF FILING OF CLAIM BY DEBTOR OR TRUSTEE

TO: Georgia Department of Revenue

Pursuant to Bankruptcy Rule 3004, notice is hereby given that the debtor or trustee in the above captioned case filed
a proof of claim on your behalf in the amount of $13725.00 on February 28, 2022, Claim No. 5.

You are further notified that if you disagree with the amount or nature of the claim or want to file an amended claim,
you may do so by filing Official Form B410 (Proof of Claim), which can be obtained at any bankruptcy clerk's office
or at: https://www.uscourts.gov/forms/bankruptcy−forms.

Claims can be filed electronically by registered users at: http://ecf.ganb.uscourts.gov or can be hand−delivered or
mailed to the Clerk's Office at:

United States Bankruptcy Court
1340 Richard Russell Building
75 Ted Turner Drive, SW
Atlanta, GA 30303

Dated: 3/9/22




                                                                           M. Regina Thomas
                                                                           Clerk of Court
                                                                           U.S. Bankruptcy Court
       Case 21-55752-pmb                     Doc 96 Filed 03/11/22 Entered 03/12/22 00:54:35                                              Desc Imaged
                                                  Certificate of Notice Page 2 of 3
                                                               United States Bankruptcy Court
                                                                Northern District of Georgia
In re:                                                                                                                  Case No. 21-55752-pmb
New Vision Realty & Investments, Inc.                                                                                   Chapter 7
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 113E-9                                                   User: bncadmin                                                              Page 1 of 2
Date Rcvd: Mar 09, 2022                                                Form ID: 3004                                                              Total Noticed: 2
The following symbols are used throughout this certificate:
Symbol          Definition
+                 Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                  regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Mar 11, 2022:
Recip ID                 Recipient Name and Address
db                     + New Vision Realty & Investments, Inc., 3645 Marketplace Blvd., Unit 130-593, Atlanta, GA 30344-5747

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                  Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
23770264                  Email/Text: brnotices@dor.ga.gov
                                                                                         Mar 09 2022 20:11:00      Georgia Department of Revenue, Central
                                                                                                                   Collections Section, 1800 Century Blvd NE Suite
                                                                                                                   9100, Atlanta, GA 30345

TOTAL: 1


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Mar 11, 2022                                            Signature:            /s/Joseph Speetjens




                                   CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on March 9, 2022 at the address(es) listed
below:
Name                               Email Address
Austin E. James
                                   on behalf of Defendant Normandy Capital Trust austin.james@fnf.com erikka.guy@fnf.com

Gwendolyn J. Godfrey
                                   on behalf of Creditor Normandy Capital Trust ggodfrey@polsinelli.com

Michael J. Bargar
                                   on behalf of Plaintiff S. Gregory Hays as Chapter 7 Trustee for New Vision Realty & Investments Inc. michael.bargar@agg.com,
                                   carol.stewart@agg.com
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                                                    Certificate of Notice Page 3 of 3
District/off: 113E-9                                                   User: bncadmin                                                        Page 2 of 2
Date Rcvd: Mar 09, 2022                                                Form ID: 3004                                                        Total Noticed: 2
Michael J. Bargar
                                      on behalf of Trustee S. Gregory Hays michael.bargar@agg.com carol.stewart@agg.com

Morgan Fiander
                                      on behalf of Creditor Normandy Capital Trust mfiander@polsinelli.com

Nicole Carson
                                      on behalf of Debtor New Vision Realty & Investments Inc. nicole@bk-attorneys.com, carsoncourtnotices@gmail.com

Office of the United States Trustee
                                      ustpregion21.at.ecf@usdoj.gov

S. Gregory Hays
                                      ghays@haysconsulting.net saskue@haysconsulting.net;GA32@ecfcbis.com


TOTAL: 8
